
4 U.S. 419 (____)
4 Dall. 419
Conframp et al.
versus
Bunel.
Supreme Court of United States.

*420 Moylan, for the plaintiffs.
Du Ponceau, and Dallas, for the defendant.
The COURT were clearly of opinion, that the parties were bound by the law of the 6th of September 1802; that the present case was within the law; and that the suspension of the law, applied as well to the commencement of the suit, as to the issuing of an execution.
The rule made absolute.[(1)]
NOTES
[(1)]  The defendant's counsel, proceeding on the grounds above stated, did not make, on this preliminary question, the objection, that the Circuit Court has no jurisdiction of a cause, in which both parties are aliens; an objection that has, repeatedly, been adjudged to be fatal.

